
234 P.3d 1098 (2010)
236 Or. App. 234
In the Matter of D.H., Alleged to be a Mentally Ill Person.
STATE of Oregon, Respondent,
v.
D.H., Appellant.
090362787; A141874.
Court of Appeals of Oregon.
Submitted June 16, 2010.
Decided July 7, 2010.
Rebecca Carter filed the brief for appellant. John R. Kroger, Attorney General, Jerome Lidz, Solicitor General, and Laura S. Anderson, Senior Assistant Attorney General, filed the brief for respondent.
Before HASELTON, Presiding Judge, and ARMSTRONG, Judge, and CARSON, Senior Judge.
PER CURIAM.
Appellant in this mental commitment case appeals a judgment committing him to the Mental Health Division for treatment for a period of time not to exceed 90 days. ORS 426.130 (2007), amended by Or. Laws 2009, ch. 595, § 393. The trial court found that appellant suffers from a mental disorder and is unable to provide for his basic personal needs. The state concedes that the record lacks clear and convincing evidence that defendant's mental illness causes him to be unable to provide for his basic personal needs. On de novo review, we find the state's concession to be well-founded and accept it.
Reversed.
